Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 11 of
                                                         of 18
                                                            18




                                      1:17CV266
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 22 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 33 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 44 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 55 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 66 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 77 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 88 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 99 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 10
                                                      10 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 11
                                                      11 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 12
                                                      12 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 13
                                                      13 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 14
                                                      14 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 15
                                                      15 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 16
                                                      16 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 17
                                                      17 of
                                                         of 18
                                                            18
Case
Case 1:17-cv-00266-RAL
     2:05-mc-02025 Document
                       Document
                            12131 Filed
                                  Filed 10/03/17
                                        10/03/17 Page
                                                 Page 18
                                                      18 of
                                                         of 18
                                                            18
